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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
KCB                                               271 Cadman Plaza East
F. #2018R02184                                    Brooklyn, New York 11201



                                                  April 23, 2019


By Hand Delivery and ECF

Michael Weil
Federal Defenders of New York, Inc.
One Pierrepont Plaza, 16th Floor
Brooklyn, NY 11201
718-407-7413
Fax: 718-855-0760
Email: michael_weil@fd.org

              Re:    United States v. Lucio Celli
                     Criminal Docket No. 19-127 (AMD)

Dear Mr. Weil:

               Enclosed please find the government’s supplemental production of discovery
in accordance with Rule 16 of the Federal Rules of Criminal Procedure. Specifically, the
enclosed contains copies of emails sent by the defendant, designated as “sensitive discovery
material” pursuant to the Protective Order entered on April 22, 2019. See ECF No. 34.
(LC000041–LC000198.) The government renews its request for reciprocal discovery from
the defendant.
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               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

                                                  Very truly yours,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:     /s/ Kayla Bensing
                                                  Kayla Bensing
                                                  Assistant U.S. Attorney
                                                  (718) 254-6279

Enclosures

cc:    Clerk of the Court (AMD) (by ECF) (without enclosures)




                                              2
